                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION


JUMEL H. SHAIDNAGLE, individually, and on
behalf of the WRONGFUL DEATH BENEFICIARIES OF
NICHOLAS L. PASTOR, deceased, and the ESTATE
OF NICHOLAS L. PASTOR, deceased                         PLAINTIFFS


VS.                          CIVIL ACTION NO: 5:13-cv-112-DCB-JCG


ADAMS COUNTY, MISSISSIPPI by and through its
Board of Supervisors, ADAMS COUNTY SHERIFF’S
DEPARTMENT, CHARLES R. “CHUCK” MAYFIELD, JR.,
Sheriff of Adams County, Mississippi, in his
individual and official capacities; LAURA
SMITH, RONALD DUNMORE, LAKEISHA OWENS, JAMES
ALLRED, CHARLES HARRIGILL, and JOHN DOES I-V,
in their individual and official capacities             DEFENDANTS

         ORDER GRANTING MOTIONS FOR SUMMARY JUDGMENT AND
        GRANTING IN PART AND DEFERRING JUDGMENT ON MOTION

      This cause is before the Court on Defendant’s, Laura Smith,

Motion for Summary Judgment [docket entry no. 134], Defendant’s,

James Allred, Motion for Summary Judgment [docket entry no. 137],

Defendants’, Adams County, Mississippi, Charles Harrigill, and

Charles R. Mayfield, Jr., Motion for Summary Judgment [docket entry

no. 139], and Defendants’, Gary Conn and Ronald Dunmore, Motion for

Summary Judgment [docket entry no. 147]. Having reviewed the

motions and responses, applicable statutory and case law, and being

otherwise fully informed in the premises, the Court finds as

follows:


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               I. Factual and Procedural Background

     On July 27, 2012, Nicholas Pastor threatened to commit suicide

at his family’s hunting camp. He had doused himself in fuel,

intending to set himself on fire. Pastor also had a loaded firearm

in his possession. His family arrived and talked Pastor out of

taking his own life. That same day, Pastor’s family convinced him

to seek psychiatric treatment at the Natchez Regional Medical

Center. He was transferred to the University of Mississippi Medical

Center (“UMMC”) in Jackson, Mississippi, that evening.

     On July 28, 2012, Pastor was discharged from UMMC and returned

home to Adams County. Although UMMC determined that Pastor was no

longer actively suicidal, Pastor’s family was still concerned for

his welfare. Pastor’s cousin contacted Tim Cotton, a Special Master

for the Adams County Chancery Court, to have Pastor incarcerated.

Cotton signed an Order to Hold that would allow the Adams County

Sheriff’s Department to jail Pastor before a hearing. The Order to

Hold states:

          On this day sufficient information was brought
     before the Court regarding an Individual by the name of
     Nicholas Pastor. After considering said information, the
     Court is of the opinion that Mr. Pastor is certainly a
     danger to himself in his current condition and could pose
     as a flight risk as well if not detained.
          Therefore, it shall be the Order of this Court that
     Nicholas Pastor be taken into custody by any certified
     law enforcement officer and transported to the Adams
     County Jail to be held until such time that a full
     hearing can be conducted to determine Mr. Pastor’s
     psychological condition and needs.

Resp. Ex. 2, ECF No. 174-2. Based on the Order to Hold, the Adams

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County Sheriff’s Department arrested Pastor on July 28, 2012, and

took him to the Adams County Jail (“the Jail”).

     Pastor was booked into the Adams County Jail at around 2:40pm

on July 28, 2012. Defendant Laura Smith is the staff sergeant who

was on duty when Pastor was booked. Defendants Ronald Dunmore and

Gary Conn are jailers who were on duty at that time. Defendant

James Allred is a jailer who came on duty while Pastor was

incarcerated. Defendant Lakeisha Owens is the staff sergeant who

replaced Smith at shift change. Pastor was brought into the Jail

through a sally port and seated outside the control room. Smith had

already seen the Order to Hold before Pastor’s intake questionnaire

was completed. The Order to Hold was necessary for Pastor to be

booked into the Jail. Dunmore and Conn interviewed Pastor during

booking to complete the intake questionnaire. Neither Dunmore nor

Conn were aware of the circumstances under which Pastor had been

brought to the jail or of his earlier suicide attempt. Pastor

denied being suicidal or having previously attempted suicide.

Although he told Dunmore and Conn about being in the hospital,

Pastor did not tell the jailers the reason for his hospitalization.

Further, Dunmore and Conn observed Pastor’s behavior during the

interview and found him to be talkative and normal-acting. Overall,

he exhibited no signs or indications of suicidal behavior that

Dunmore or Conn observed. After the questionnaire was completed,

Smith   reviewed   Pastor’s   answers   and   Dunmore’s   and   Conn’s


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observations of Pastor. These together with her own observations of

Pastor and the Order to Hold formed the basis for Smith’s decision

not to place Pastor on suicide watch.1

     Thereafter, Pastor was placed in a holding cell and classified

as a “lunacy” inmate. Because he was not placed on suicide watch,

Pastor received toiletries and regular clothes. Standard procedure

for non-suicide watch “lunacy” inmates was for the jailers to check

on them once every hour. Video surveillance in the hallway outside

the holding cell reveals when Dunmore, Conn, and Allred–who came on

shift at 6:00pm–checked on Pastor. Dunmore or Conn checked on

Pastor intermittently by looking through the window of the holding

cell before bringing Pastor food and medication around 4:40pm.

According to the surveillance footage, no one checked on Pastor

again before his body was found by Allred around 6:20pm, in

violation of the Adams County Jail’s policy. Pastor had strangled

himself by tying his pants around the sink in his cell and around

his neck.

     Pastor’s mother, Plaintiff Jumel Shaidnagle, brought this suit


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       There is some evidence that Pastor was marked in the
computer system as a suicide watch after his death. This
evidence, while concerning, is irrelevant for these motions
because at issue is the subjective knowledge of the defendants.
Plaintiffs have been unable to identify who made this change or
when. Further, each defendant has testified that he or she did
not make this change and that they either had no knowledge that
Pastor was on suicide watch or that they made the decision that
Pastor should not be on suicide watch. Plaintiffs have not
countered this testimony, and the arguments about spoliation are
unavailing.

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on behalf of her son’s wrongful death beneficiaries and her son’s

estate (collectively, “Shaidnagle”). In her amended complaint,

Shaidnagle brings claims for a deprivation of civil rights under 42

U.S.C. §§ 1983, 1985, 1986, & 1988, claims for vicarious liability,

and a declaratory judgment action seeking to have the Court declare

the policies at issue in this case unconstitutional and enjoin the

defendants from enforcing them.

       On     January   12,    2015,     the     parties,     through   counsel,

participated in a pretrial conference. A pretrial order was entered

on January 20, 2015, clarifying the remaining defendants and

claims. Defendant Lakeisha Owens, whose first name has variously

appeared as Tekeisha and Keisha in the briefs, is no longer

involved in this case.2 Shaidnagle brings claims under Sections

1983, 1985, 1986, and 1988 against all defendants, in addition to

her    claims     for   equitable      relief    and    declaratory     judgment.

Shaidnagle also seeks punitive damages against Defendant Charles R.

Mayfield, Jr., (“Sheriff Mayfield”) Defendant Charles Harrigill,

Smith, Dunmore, Conn, and Allred. The defendants bring a Section

1988       crossclaim   for   attorneys’       fees    and   costs   against   the

plaintiffs.

                                  II. Analysis

                              A. Summary Judgement



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       At the pretrial conference there was some discussion that
Owens had never actually been served in this case.

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      Summary judgment is appropriate “if the movant shows that

there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

“A fact is ‘material’ if its resolution in favor of one party might

affect the outcome of the lawsuit under governing law. An issue is

‘genuine’ if the evidence is sufficient for a reasonable jury to

return a verdict for the non-moving party.” Ginsberg 1985 Real

Estate P’ship v. Cadle Co., 39 F.3d 528, 531 (5th Cir. 1994)

(citations   omitted).     The   moving    party     bears   the   initial

responsibility of apprising the district court of the basis for its

motion and the parts of the record which indicate the absence of a

genuine issue of material fact. Celotex Corp. V. Catrett, 477 U.S.

317, 323 (1986).

      “Once the moving party presents the district court with a

properly supported summary judgment motion, the burden shifts to

the   non-moving   party    to   show     that     summary   judgment   is

inappropriate.” Morris v. Covan World Wide Moving, Inc., 144 F.3d

377, 380 (5th Cir. 1998). “The evidence of the non-movant is to be

believed, and all justifiable inferences are to be drawn in his

favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

But the nonmovant must meet his burden with more than metaphysical

doubt, conclusory allegations, unsubstantiated assertions, or a

mere scintilla of evidence. Little v. Liquid Air Corp., 37 F.3d

1069, 1075 (5th Cir. 1994). A party asserting that a fact is


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“genuinely disputed must support the assertion by: (A) citing to

particular parts of materials in the record, including depositions,

documents,     electronically           stored   information,       affidavits   or

declarations, stipulations . . . admissions, interrogatory answers,

or other materials . . . .” Fed. R. Civ. P. 56(c)(1)(A).

     Summary judgment must be rendered when the nonmovant “fails to

make a showing sufficient to establish the existence of an element

essential to that party’s case, and on which that party will bear

the burden of proof at trial.” Celotex, 477 U.S. at 322.

                              B. Qualified Immunity

     “Qualified immunity balances two important interests–the need

to hold public officials accountable when they exercise power

irresponsibly and the need to shield officials from harassment,

distraction,        and     liability     when   they   perform      their   duties

reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009). “A

qualified immunity defense alters the usual summary judgment burden

of proof. Once an official pleads the defense, . . . [t]he

plaintiff bears the burden of negating the qualified immunity, but

all inferences are drawn in his favor.” Brown v. Callahan, 623 F.3d

249, 253     (5th    Cir.    2010). In     assessing    a   claim    of   qualified

immunity, courts apply the two pronged analysis established in

Saucier v. Katz, 533 U.S. 194 (2001), but the court may address the

prongs in any order, Pearson, 555 U.S. at 225.

     One prong asks “whether Plaintiff’s allegations establish a


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constitutional violation.” Hope v. Pelzer, 536 U.S. 730 (2002). The

second prong asks “whether the right was clearly established.”

Saucier, 533 U.S. at 201. “[T]he contours of the right must be

sufficiently clear that a reasonable official would understand that

what he is doing violates that right.” Anderson v. Creighton, 483

U.S. 635, 640 (1987).

                        C. Section 1983 Claims

                   1. Adams County, Mississippi

     Because a suit against an official in his official capacity

“is no different from a suit against” a governmental entity, the

Court will analyze all of the official capacity claims in the same

manner in which it analyzes the claim made against Defendant Adams

County, Mississippi (“the County”). See Will v. Mich. Dep’t of

State Police, 491 U.S. 58, 71 (1989) (holding that officials acting

in their official capacities are not persons for purposes of

Section 1983 litigation). “To hold a municipality accountable for

a violation of constitutional rights, a plaintiff must show: (1)

that the municipal employee violated his         clearly established

constitutional rights with subjective deliberate indifference; and

(2) that this violation resulted from a municipal policy or custom

adopted and maintained with objective deliberate indifference.”

Olabisiomotosho v. City of Houston, 185 F.3d 521, 528-29 (5th Cir.

1999). Shaidnagle fails to show a policy that was “adopted and

maintained with objective deliberate indifference.” This prong


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requires identification of “a policymaker; an official policy; and

a violation of constitutional rights whose ‘moving force’ is the

policy or custom,” Piotrowski v. City of Houston, 237 F.3d 567, 578

(5th Cir. 2001). The objective deliberate indifference standard

“considers not only what the policymaker knew, but what he should

have known, given the facts and circumstances surrounding the

official policy and its impact on the plaintiff’s rights.” Lawson

v. Dallas Cnty., 286 F.3d 257, 264 (5th Cir. 2002). Shaidnagle has

identified Sheriff Mayfield, Harrigill, and Smith3 as policymakers.

The official policy at issue here concerns how jail staff interpret

an Order to Hold so that a determination can be made as to whether

an inmate poses a suicide risk.4

     Supreme Court precedent “underscores the need for . . .

plaintiffs to establish both the causal link (‘moving force’) and

the [county’s] degree of culpability (‘deliberate indifference’ to



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       The defendants refute Smith’s status as a policymaker and
argue that she was merely acting within the discretionary
authority of her job as staff sergeant. Because the Court finds
that the policy did not rise to the level of a constitutional
violation, the Court need not reach the question of whether Smith
qualifies as a policymaker. Further, Sheriff Mayfield is a
policymaker for this analysis, so that this element is satisfied,
thus allowing the Court to analyze the County’s liability.
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       The County concedes the existence of a policy. Under these
facts, the relevant policy allowed staff sergeants to make the
final determination on whether an inmate should be placed on
suicide watch. An Order to Hold was not dispositive of this
decision, and the sergeant on duty was to consider such an order
in addition to the inmate’s responses to the intake questionnaire
and the inmate’s behavior.

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federally protected rights) . . . [W]here a court fails to adhere

to rigorous requirements of culpability and causation, municipal

liability    collapses      into   respondeat    liability.”         Snyder    v.

Trepagnier, 142 F.3d 791, 796 (5th Cir. 1998) (citing Bd. Of Cnty.

Comm’rs of Bryan Cnty., Okla. v. Brown, 520 U.S. 397, 415 (1997))

(internal quotation marks omitted). “‘[D]eliberate indifference’ is

a stringent standard of fault, requiring proof that a municipal

actor disregarded a known or obvious consequence of his action.”

Bryan Cnty., 520 U.S. at 410. Assuming arguendo that a violation of

Pastor’s constitutional rights occurred, Shaidnagle has failed to

show that the policy was the moving force behind the violation. The

policy required a staff sergeant to consider several relevant

factors before making a determination as to whether an inmate

should be placed on suicide watch. Because it includes these

factors,    the    policy   is   not   deliberately    indifferent      to    the

constitutional rights of inmates.

   2. Sheriff Charles R. Mayfield, Jr., and Charles Harrigill

     Under the facts presented, Sheriff Mayfield and Harrigill may

be held liable only on a theory of supervisory liability. Neither

was present at any time before Pastor’s death. There are two

theories    of    supervisory    liability:   (1)     failure   to    train    or

supervise the officers involved, Thompson v. Upshur Cnty., Tex.,

245 F.3d 447, 459 (5th Cir. 2001), and (2) implementation of “a

policy so deficient that the policy itself is a repudiation of


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constitutional rights and is the moving force of the constitutional

violation,” Thompkins v. Belt, 828 F.2d 298, 304 (5th Cir. 1987)

(internal quotations omitted). If the jailers were only required to

complete a state mandated training program, then the plaintiff must

prove the state training was inadequate. See Benavides v. Cnty. of

Wilson, 955 F.2d 968, 973 (5th Cir. 1992). Also, mere proof that

the injury would not have occurred if the officer had received

better   or   additional     training    cannot,   without   more,   support

liability. Roberts v. City of Shreveport, 397 F.3d 297 (5th Cir.

2005). Shaidnagle has not shown that the training the jail staff

received was inadequate, and, therefore, neither Sheriff Mayfield

nor   Harrigill   can   be   liable     under   this   theory.   Further,   as

discussed supra, the policy in place to determine whether Pastor

was a suicide risk was not the moving force behind a constitutional

violation, and, therefore, neither defendant can be held liable

under this theory. The Court will grant the motion for summary

judgment as to these two defendants.

                   3. Ronald Dunmore and Gary Conn

      “[T]he correct legal standard is not whether the jail officers

‘knew or should have known,’ but whether they had gained actual

knowledge of the substantial risk of suicide and responded with

deliberate indifference.” Hare v. City of Corinth, Miss., 74 F. 3d

633, 650 (5th Cir. 1996). Here, because Smith is the only jail

officer to have seen the Order to Hold and the computer system


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reflected that, at booking, Pastor was not placed on suicide watch,

neither Dunmore nor Conn had actual knowledge of a substantial risk

of Pastor’s suicide. Therefore, they are entitled to summary

judgment   in   their   favor    based   on   their    qualified      immunity.

Shaidnagle raises questions about whether Dunmore had in fact seen

the Order to Hold, but these allegations are not supported by any

facts in the record and do not contradict Dunmore’s deposition

testimony that he had not seen the Order to Hold. Further, although

the facts show that Dunmore and Conn did not adhere to the policy

to check on inmates every hour, this failure does not rise above

negligence and fails to support liability. See Rogge v. City of

Richmond, Tex., 995 F. Supp. 2d 657, 670 (S.D. Tex. 2014) (holding

that “failure to comply with [jail] procedures does not constitute

deliberate   indifference   if    [the   jailer]      was   unaware    of   [the

inmate’s] risk of self harm”) (citing Whitt v. Stephens Cnty., 529

F.3d 278, 284 (5th Cir. 2008)); Jacobs v. West Feliciana Sheriff’s

Dep’t, 228 F.3d 388, 398 (5th Cir. 2000) (holding that failure to

comply with policy for regular checks on inmate “evince[d] at best,

negligence on the part of [the jailer], which is insufficient to

support a finding of deliberate indifference”) (citing Hare, 74

F.3d at 645-46).

                            4. James Allred

     Shaidnagle brings Section 1983 claims for failure to protect

and failure to provide medical treatment against Allred. Allred is


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entitled to summary judgment on both claims. As to the failure to

protect claim, Allred had no actual knowledge that Pastor was a

suicide risk. See Hare, 74 F.3d at 650. Allred came on duty roughly

twenty minutes before he discovered Pastor’s body in the holding

cell. This was the first time that he saw Pastor that day. When he

came on duty, Owens, his supervisor, told Allred that he should

“keep an eye on” Pastor. Allred, however, did not understand this

instruction to mean that Pastor had been placed on suicide watch

but rather that Pastor was related to someone connected to the jail

somehow and that Allred should keep him company more than a typical

inmate. Being told to “keep an eye on” an inmate does not create

actual knowledge of a suicide risk. See          Speck v. Desoto Cnty.,

Miss., Nos. 2:08cv95; 2:10cv51, 2012 WL 2685060, at *10 (N.D. Miss.

Jul. 5, 2012). Therefore, Allred is entitled to summary judgment on

this claim because Shaidnagle has not shown that Allred acted with

deliberate indifference.

     As   to   the   failure   to   provide   medical   treatment   claim,

Shaidnagle argues that Allred could have and should have attempted

to resuscitate Pastor upon finding him. To support a claim for

delayed medical treatment, a plaintiff must show that a defendant

acted with deliberate indifference and that that indifference

resulted in substantial harm. Mendoza v. Lynaugh, 25 F.2d 191, 193

(5th Cir. 1993). Allred argues that there is no evidence that

Pastor could have been revived and that there is no evidence that


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Pastor was still alive when Allred started his shift. Further,

Shaidnagle has presented no medical evidence to support the theory

that any delay in treatment harmed Pastor. As soon as Allred saw

Pastor, he immediately went to retrieve the key to the holding cell

and alerted his supervising officer. Allred estimates the time

between when he found Pastor and when his supervising officers

arrived to be around two and a half minutes. Shaidnagle has not

shown that Allred acted with deliberate indifference or that

Allred’s course of action resulted in substantial harm to Pastor.

Therefore, the court will grant summary judgment in favor of Allred

on these claims.

                           5. Laura Smith

     The Court reserves judgment on the motion for summary judgment

as to the Section 1983 claim against Smith pending a hearing.

                   D. Section 1985 and 1986 Claims

     To recover under 42 U.S.C. 1985(2), a plaintiff must show a

conspiracy by either (1) “a nexus between the alleged conspiracy

and a proceeding in federal court” or (2) “a racial or otherwise

class-based discriminatory animus” “designed to deny or interfere

with equal protection rights.” Bradt v. Smith, 634 F.2d 796, 801

(5th Cir. 1981). To recover under 42 U.S.C. § 1985(3), a plaintiff

must show:

     (1) a conspiracy involving two or more persons; (2) for
     the purpose of depriving, directly or indirectly, a
     person or class of person of the equal protection of the
     laws; and (3) an act in furtherance of the conspiracy;

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     (4) which causes injury to a person or property , or a
     deprivation of any right or privilege of a citizen of the
     United States. In so doing the plaintiff must show that
     the conspiracy was motivated by a class-based animus.

Hilliard v. Ferguson, 30 F.3d 649, 652-53 (5th Cir. 1994). Further,

“a valid § 1985 claim is a prerequisite to a § 1986 claim.” Bryan

v. City of Madison, Miss., 213 F.3d 267, 276 (5th Cir. 2000).

     Several defendants argue that these claims are barred by the

statute of limitations because the defendants were not brought into

this suit until May 22, 2014, the date Shaidnagle filed her amended

complaint, and the complained of actions took place in July of

2012. The defendants are correct that Shaidnagle has sued them

outside of the statute of limitations, and they are entitled to

summary judgment on this defense because her claims cannot relate

back to the filing of her original complaint.

     A party may add defendants to a suit and have those claims

relate back to the filing of the original complaint when the

requirements of Federal Rule of Civil Procedure 15(c) are met. See

Krupski v. Costa Crociere S. p. A., 560 U.S. 538, 547 (2010). The

purpose of the relation back doctrine is “to balance the interests

of the defendant protected by the statute of limitations with the

preference expressed in the Federal Rules of Civil Procedure in

general, and Rule 15 in particular, for resolving disputes on their

merits.” Id., at 550. When a plaintiff has made a mistake in

identifying the originally named defendants, the only question to

be answered before a claim can relate back to a newly added

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defendant is “whether [the newly added defendant] knew or should

have known that, absent some mistake, the action would have been

brought against him.” Id., at 549. “The Fifth Circuit has held the

Rule 15(c) relation-back is not available to a plaintiff who sues

‘John Doe’ because the plaintiff does not know who the defendant

is.” Trigo v. TDCJ-CID Officials, No. H052012, 2010 WL 3359481, at

*14 (S.D. Tex. Aug. 24, 2010) (citing Jacobsen v. Osborne, 133 F.3d

315, 320 (5th Cir. 1998)). In Jacobsen, the Fifth Circuit held that

“for a ‘John Doe’ defendant, there [i]s no ‘mistake’ in identifying

the correct defendant; rather the problem was not being able to

identify that defendant.” Jacobsen, 133 F.3d at 321. Because the

Fifth Circuit does not recognize the naming of a defendant as John

Doe as a mistake in the identity of a party, Rule 15(c) relation-

back is unavailable. See also In re Juliet Homes, LP, Bankr. No.

07-36424; Adversary No. 09-03429, 2010 WL 5256806, at *8-9 (Bankr.

S.D. Tex. Dec. 16, 2010) (“Under Trigo, an error based on a lack of

knowledge rather than confusion about the identities of parties

does not qualify as a mistake under Rule 15. The realization that

additional parties could have been sued is generally not a mistake

of identity. Such an error is usually based on a lack of knowledge,

not on mistaken knowledge about the identities of the parties.”).

Therefore, all of the defendants except for the County and Sheriff

Mayfield, who were named in the original complaint, are entitled to

summary judgment on these claims based on the expiration of the


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statute of limitations.

       Turning to the merits of these claims for the remaining

defendants, the result is the same. “[A]s a matter of law state

officials of a single agency generally cannot conspire with their

employer agency or with one another in the carrying out of their

official duties as agency employees.” Fontenot v. Texas, 44 F.3d

1004, *4 (5th Cir. 1994). Without a valid Section 1985 conspiracy,

the claim under Section 1986 must also fail. Therefore, the County

and Sheriff Mayfield are entitled to summary judgment on these

claims.

                             E. Section 1988 Claims

       “In   any   action        or   proceeding    to   enforce   a   provision    of

sections . . . 1983, 1985, and 1986 . . . the court, in its

discretion, may allow the prevailing party, other than the United

States, a reasonable attorney’s fee as part of the costs. . . .” 42

U.S.C. § 1988 (2000). “A litigant is not eligible for attorney’s

fees   unless      it   is   a    ‘prevailing      party.’”   Walker    v.   City   of

Mesquite, Tex., 313 F.3d 246, 249 (5th Cir. 2002). “To qualify as

a prevailing party, the plaintiff must (1) obtain actual relief,

such as an enforceable judgment or a consent decree; (2) that

materially alters the legal relationship between the parties: and

(3) modifies the defendant’s behavior in a way that directly

benefits the plaintiff at the time of the judgment or settlement.”

Id. In this case, the plaintiffs are not prevailing parties on any


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of the claims decided in this order. Further, the Court finds that

it   would   be   inappropriate          to   award   attorneys’         fees    to   the

defendants in this case. Therefore, the Court will deny summary

judgment on these claims.

                              F. Vicarious Liability

       Shaidnagle       is    no   longer     pursuing    claims    for     vicarious

liability according to the pretrial order. See Pretrial Order 3-4,

ECF No. 205. Therefore, the defendants are entitled to summary

judgment in their favor on these claims, and the Court will grant

the motions as to the claims for vicarious liability.

                                   IV. Conclusion

       As to the claims brought under Section 1983, all of the

defendants     are   entitled       to   summary      judgment     based    on    their

qualified immunity, with the exception of Laura Smith. The Court

defers ruling on her qualified immunity defense pending the outcome

of a hearing on the motion. All of the defendants are entitled to

summary judgment on the claims brought under Section 1985. The

majority     of   the    defendants      successfully       raise   a     statute      of

limitations defense, and the remaining two defendants are entitled

to summary judgment based on the merits. All of the defendants are

entitled to summary judgment on the claims brought under Section

1986   because     the       Section   1985      claims   fail.    The    claims      for

attorneys’ fees and costs brought under Section 1988 are denied,

with the exception of fees related to the remaining Section 1983


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claim against Smith, pending the outcome of the hearing. Lastly,

based on the pretrial order, the Court dismisses without prejudice

Lakeisha Owens and finds the claims for vicarious liability against

all defendants have been abandoned.

                             V. Order

     IT IS HEREBY ORDERED that Laura Smith’s Motion for Summary

Judgment is GRANTED IN PART and a hearing shall be held on the

motion for summary judgment as to the remaining claims against

Smith. The parties shall contact the Chambers of Judge David

Bramlette to set the hearing.

     FURTHER ORDERED that James Allred’s Motion for Summary

Judgment is GRANTED.

     FURTHER ORDERED that Adams County, Mississippi’s, Charles

Harrigill’s, and Charles R. Mayfield, Jr.’s Motion for Summary

Judgment is GRANTED.

     FURTHER ORDERED that Gary Conn’s and Ronald Dunmore’s Motion

for Summary Judgment is GRANTED.

     FURTHER ORDERED that Lakeisha Owens is DISMISSED WITHOUT

PREJUDICE from this case.



     SO ORDERED this the 27th day of January 2015.


                                       /s/ David Bramlette
                                      UNITED STATES DISTRICT JUDGE




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